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                        EXHIBIT 3
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                               Document
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  UNITED STATES DISTRICT COURT
  NORTHERN DISTRICT OF NEW YORK
  _______________________________________________

  ADRIAN JONES,

                                       Plaintiff,

                          v.                                                 5:20-CV-340
                                                                             (FJS/MJK)
  POLICE SERGEANT JAMES MILANA,
  POLICE OFFICER GORDON QUONCE,
  POLICE OFFICER TARAS SENENKO, and
  POLICE OFFICER DERRICK ETTINGER,

                                Defendants.
  _______________________________________________

                                WRIT OF BODY ATTACHMENT

         In its Memorandum-Decision and Order, dated October 16, 2024, see Dkt. No. 99, the

  Court, among other things, ordered

                 Emerson Kinsey to appear before this Court on November 12,
                 2024 at 11:00 a.m. in Courtroom No. 6 on the 12th Floor of the
                 James Hanley U.S. Courthouse & Federal Building, 100 South
                 Clinton Street, Syracuse, New York, and SHOW CAUSE why
                 this Court should not hold him in civil contempt for failing to obey
                 the July 11, 2024 subpoena requiring him to appear on July 17,
                 2024, and give testimony in this matter and for failing to obey
                 Magistrate Judge Katz's July 30, 2024 Order to Show Cause
                 directing him to appear at this courthouse on August 21, 2024, at
                 11 a.m.

  See Dkt. No. 99 at 5.

         The Court also advised Emerson Kinsey that, immediately after the hearing on November

  12, 2024, his deposition would commence in the same courtroom. See id.

         Finally, the Court notified Emerson Kinsey "that, if he [did] not appear before the

  Court on November 12, 2024, at 11:00 a.m. as instructed herein, the Court [would] issue a

  Writ of Body Attachment directing the United States Marshal to take him into custody and
Case 1:05-md-01720-MKB-JAM
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  to hold him until such time as the Court [could] schedule a date for him to appear in this

  courthouse to address the issue of contempt and for the taking of his deposition[.]" See id.

  at 5-6.

            Emerson Kinsey, having failed to appear and show cause on November 12, 2024, at 11:00

  a.m. as the Court directed him to do in its October 16, 2024 Memorandum-Decision and Order,

  the Court finds him in civil contempt of court.

            Accordingly, the Court hereby

            ORDERS that Emerson Kinsey is in civil contempt; and the Court further

            ORDERS that the United States Marshal in and for the Northern District of New York or

  his deputy shall take into custody the person of Emerson Kinsey and hold him until such time as

  the Court can schedule a date for him to appear in this courthouse to address the issue of

  contempt and for the taking of his deposition; and the Court further

            ORDERS that, upon taking Emerson Kinsey into custody, the United States Marshal or

  his deputy shall, as soon as possible, notify the Court of same.


  IT IS SO ORDERED.

  Dated: November 13, 2024
         Syracuse, New York




                                                    Return

            This Writ of Body Attachment was received on (date) __________________________, and
                            the person was arrested on (date) ____________________
                               at (city and state) ___________________________.

                         Date ______________________________________________

                     Arresting oﬃcer's signature _________________________________

                     Printed name and title _____________________________________
